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NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE

  

Harry J. williby,

    

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Petition@r, NoTIcE oF PETITIoNER's MoTIo§

FoR A PRELIMINAR¥ INJuNcTIoN

VS. ,

_ ([TELEPHoNIc] oRAL ARGUMENT j

Alphabet COFPOFH¥IOH, dba, REQUESTED; ExPEDITED

CONSIDERATION REQUESTED)
Google, Inc, dba, Blogger, and,

YouTube, LLC.
Does/Roes 1-10,

respondents.

 

Pursuant to Fed. R. Civ. P. 65(a)(1), Petitioner Harry J.
williby (”Petitioner”) moves for (1) a temporary restraining
order enjoining respondents (”Alpbabet Corporation and dba
Google, Inc., dba, Blogger and YouTube, LLC.”) including their
domestic and foreign agents, divisions, parents, subsidiaries,
affiliates, YouTube partnerships, or YouTube joint ventures, from
suspending, or terminating Petitioner’s Youtube Channels: The
”Harry Williby Channel” and ”The Attorney DepotTM Channel,” based
upon the imposition of ”Copyright Strikes,” or ”Copyright
Claims,” not submitted by copyright owner(s), or processed by"
Respondents, in accordance with the Digital Millennium Copyright
Act, 17 U.S. Code §§ 512(g)(1) until the preliminary injunction
can be neard; and (2) a preliminary injunction enjoining

respondents (”Alphabet Corporation and dba Google, Inc., dba,

 

 

 

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Blogger and YouTube, LLC.”) including their domestic and foreign
agents, divisions, parents, subsidiaries, atfiliates,
partnerships, or joint ventures, from suspending, or terminating
Petitioner’s Youtube Channels: The ”Harry williby Channel” and
”The Attorney DepotTM Channel,” based upon the imposition of
”Copyright Strikes,” or ”Copyright Claims,” not submitted by
copyright owner(s), or processed by Respondents, in accordance
with the Digital Millennium Copyright Act, 17 U.S. Code §§ 512(g)
(1).

Petitioner requires the aid of this Court to maintain the
status quo prior to the trial on the merits, which has not yet
been scheduled. Petitioner further requests waiver of the
requirement for posting security for payment of any costs or
damages incurred by respondents as a result of the temporary
restraining order and preliminary injunction.

These motions are based on Petitioner's Notice; Supporting
Memorandum; and Accompanying Affidavit. A proposed form of
temporary restraining order is submitted with this motion.
Expedited consideration is requested. The undersigned Petitioner
nas provided notice to respondents by telephone call to Attorney
John Ferrie - Senior Counsel - YouTube, attorney for respondents

[and electronic mail @ iemu@mmgom;ymnube£oml] on this date.

Dated: August 8, 2018

Respectfully submitted,

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